                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 1:13-00001
                                               )   JUDGE SHARP
THOMAS HARDIMAN [2]                            )
                                               )

                                          ORDER

       A hearing on a plea of guilty in this matter is hereby scheduled for Wednesday, August 27,

2014, at 1:30 p.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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